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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      IN ADMIRALTY

  CLEAR SPRING PROPERTY
  AND CASUALTY COMPANY,

         Plaintiff,
                                                        Case No. 1:21-cv-24234-RKA
  vs.

  WELLO AND MOM, LLC,

        Defendant.
  ____________________________________

                        DEFENDANT’S MOTION FOR EXTENSION OF
                           TIME TO FILE PRETRIAL MOTIONS

         Defendant WELLO AND MOM, LLC (hereinafter “WELLO”), by and through

  undersigned counsel and pursuant to Rule 7.1 of the Local Rules of the United States District Court

  for the Southern District of Florida and Rule 16 of the Federal Rules of Civil Procedure, to file its

  Motion for Extension of Time to File Pretrial Motions, and further thereto respectfully states as

  follows:

         1.       The instant action is one for declaratory relief in which the Plaintiff, CLEAR

  SPRING PROPERTY AND CASUALTY COMPANY (“CLEAR SPRING”), asks this Court to

  adjudicate and determine the rights of the parties to a contract of marine insurance. See Plaintiff

  Clear Spring’s Second Amended Complaint for Declaratory Judgment, dated January 24th, 2023

  [ECF No. 74].

         2.       This litigation arises out of an incident for which WELLO submitted a claim

  asserting that a vessel (hereinafter the “Vessel”) owned by the WELLO and insured by the Plaintiff

  under Policy No. CSRYP/204845 (hereinafter the “Policy,” a true and correct copy of which was

  previously filed as ECF No. 8-3), suffered a partial sinking on September 27th, 2021.

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         3.      On December 28th, 2022, this Honorable Court entered the Amended Scheduling

  Order (ECF No. 71) which amended the prior Scheduling Order (ECF No. 49).

         4.      Per the Amended Scheduling Order, pretrial motions were due February 7th, 2023,

  however, due to a clerical error, the undersigned calendared this deadline as March 2nd, 2023, in

  accordance with the prior Scheduling Order (ECF No. 49).

         5.      The undersigned intends to file various pretrial motions that are critical to its

  defense in this case and in preparation for trial.

         6.      Accordingly, the undersigned seeks an additional thirty (30) day extension of time,

  through and including April 3rd, 2023, to file its pretrial motions.

         7.      As such, WELLO respectfully requests that the pretrial motion deadline be

  extended to April 3rd, 2023, for all of the reasons stated herein.

         8.      This Motion is made in good faith and not for the purposes of delay, nor will it

  prejudice any party or interfere with any of the Court’s other deadlines.

         9.      CLEAR SPRING has no position on the extension requested herein.

         WHEREFORE, Defendant WELLO AND MOM, LLC respectfully requests that the

  Court grant this motion for extension of the pretrial motion deadline, and to award any and all such

  further relief as it may deem just and prior in the premises.

                       CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3), the undersigned counsel certifies she conferred with

  counsel for the Plaintiff via telephone and e-mail on March 3rd, 2023, and Plaintiff does not take a

  position on the motion or the extension requested herein.




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  Dated: March 3rd, 2023

                                              Respectfully submitted,

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                                              By: /s/ Cristina Salem_______
                                                      RAUL MORALES
                                                      FBN: 065307
                                                      CRISTINA SALEM
                                                      FBN: 1011103


                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 3rd, 2023 I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system which will send an electronic Notice of Filing to all

  counsel of record.

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